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                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
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ELAINE WANG,                                               :
                                                           :
                  Plaintiff,                               : Civ. No. 2:19-cv-21298-SDW-ESK
                                                           :
v.                                                         :
                                                           :
THE MEDICINES COMPANY,                                     :
ALEXANDER J. DENNER, PHD, GENO J.                          :
GERMANO, JOHN C. KELLY, CLIVE                              :
MEANWELL, MD PHD, PARIS                                    :
PANAYIOTOPOULOS, SARAH J.                                  :
SCHLESINGER, MD, MARK TIMNEY,                              :
NOVARTIS AG, and MEDUSA MERGER                             :
CORPORATION,                                               :
                                                           :
                  Defendants.                              :
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                           NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Elaine Wang hereby voluntarily dismisses her individual claims in the

above-captioned action (the “Action”) with prejudice. Because this notice of dismissal is being

filed with the Court before service by Defendants of either an answer or a motion for summary

judgment, Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: May 7, 2020                                  Respectfully submitted,

                                                    WOLF HALDENSTEIN ADLER
                                                    FREEMAN & HERZ LLP

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